537 F.2d 1141
    Semelfortv.Immigration &amp; Naturalization Service*#
    No. 76-1012
    United States Court of Appeals, Fifth Circuit
    8/11/76
    
      1
      I.N.S.Fla.
    
    AFFIRMED
    
      
        *
         Summary Calendar case; Rule 18, 5 Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York, et al., 5 Cir. 1970, 431 F.2d 409
        #  Local Rule 21 case; see NLRB v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966.
      
    
    